              IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF ALASKA
                                  )
  EMMA NASH, as Personal          )
  Representative of the ESTATE OF )
  ELIZABETH NASH,                 ) Case No. 3:16-cv-00290-SLG
                                  )
                    Plaintiff,    )
                                  )
       vs.                        )
                                  )
  SHANNON PATRICK GARITTY, )
  MD,                             )
                                  )
                    Defendant.    )
                                  )

                   ORDER RE MOTION TO DISMISS

      Upon consideration of Defendant United States of America’s Motion to

Dismiss All Claims against the United States for Lack of Administrative

Exhaustion (Docket 6) and Plaintiff’s Non-Opposition (Docket 11), the Court

hereby GRANTS the motion.

      IT IS ORDERED that Plaintiff’s claims against the United States are

dismissed without prejudice, with each party to bear its own costs and

attorneys’ fees.

      This action shall proceed solely against Shannon Patrick Garitty, M.D.,

and the case caption is accordingly amended.

      Dated this 23rd day of January, 2017 at Anchorage, Alaska.

                             /s/ Sharon L. Gleason
                             UNITED STATES DISTRICT JUDGE

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